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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

 VICKI TIMPA, INDIVIDUALLY,                    §
 AND AS REPRESENTATIVE OF                      §
 THE ESTATE OF ANTHONY                         §
 TIMPA, AND AS NEXT FRIEND OF                  §
 K. T., A MINOR CHILD                          §
         Plaintiffs,                           §
                                               §
 V.                                            §    CIVIL ACTION NO. _______________
                                               §
 THE CITY OF DALLAS, JOHN DOE                  §
 # 1-3, LONE STARR MULTI-                      §
 THEATRES, LTD D/B/A NEW FINE                  §
 ARTS, JOHN DOE # 4, AND JOHN                  §
 DOE # 5                                       §
         Defendants.                           §


                         PLAINTIFFS’ ORIGINAL COMPLAINT

       NOW COMES Vicki Timpa, Individually, and as Representative of the Estate of

Anthony Timpa and as next friend of K.T., complaining of the City of Dallas, Dallas Police

Department Officers John Doe # 1-3, Lone Starr Multi-Theatres, Ltd. d/b/a New Fine Arts, and

John Doe # 4 and John Doe # 5, in support thereof, Plaintiffs respectfully show the Court as

follows.

                                 PARTIES AND SERVICE

       1.     Plaintiffs are citizens of the United States, the State of Texas, and a resident of

Dallas County, Texas

       2.     Defendant City of Dallas, a municipal corporation, may be served by delivering a

copy of the summons and of the complaint to the City of Dallas Manager, A.C. Gonzales, City

Manager, at Dallas City Hall, 1500 Marilla St., Room 4EN, Dallas, Texas 75201.




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         3.    Defendant Lone Starr Multi-Theatres, Ltd. (“Lone Starr”) is a Texas limited

partnership whose business address is 1720 W. Mockingbird Ln. Dallas, Texas 7523. Defendant

may be served with process by serving its registered agent Paul Radnitz at 4159 Billy Mitchell

Rd. Addison, Texas 75001.

         4.    John Doe # 1 is an unknown Dallas Police Officer. Service is not requested at this

time. When requested, said Defendant may be served with personal process at his/her place of

employment located at Jack Evans Police Headquarters, 1400 S. Lamar Street, Dallas, Texas

75215.

         5.    John Doe # 2 is an unknown Dallas Police Officer. Service is not requested at this

time. When requested, said Defendant may be served with personal process at his/her place of

employment located at Jack Evans Police Headquarters, 1400 S. Lamar Street, Dallas, Texas

75215.

         6.    John Doe # 3 is an unknown Dallas Police Officer. Service is not requested at this

time. When requested, said Defendant may be served with personal process at his/her place of

employment located at Jack Evans Police Headquarters, 1400 S. Lamar Street, Dallas, Texas

75215.

         7.    John Doe # 4 is an unknown security guard believed to be employed by, or

contracted by, Lone Starr, and was allegedly involved in the initial apprehension of Anthony

Timpa. Service is not requested at this time.

         8.    John Doe # 5 is an unknown security guard that was allegedly involved in the

initial apprehension of Anthony Timpa. Service is not requested at this time.

                                          JURISDICTION




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         9.    The action arises under the Fourth and Fourteenth Amendments to the United

States Constitution, and Title 42 U.S.C. §§ 1983 and 1988.

         10.   This Court has jurisdiction over these claims pursuant to Title 28 U.S.C. §§ 1331

and 1343.

         11.   This Court also has supplemental jurisdiction of the State law claims alleged in

this petition pursuant to Title 28 U.S.C. § 1367.

                                             VENUE

         12.   Venue is proper pursuant to Title 28 U.S.C. §1391(b)(1) in that the Defendants

resides in Dallas, and the cause of action arises in the Northern District of Texas, Dallas

Division.

                                 CONDITIONS PRECEDENT

         13.   All conditions precedent have been performed or have occurred.

                                             FACTS

                                ANTHONY TIMPA SUBDUED

         14.   On August 10, 2016, Anthony Timpa was at New Fine Arts located at 1720 W.

Mockingbird Ln. Dallas, TX 75235.

         15.   According to Lone Starr store employees, Mr. Timpa purchased a lighter in the

store.

         16.   Mr. Timpa left the store and proceeded to cross the street.

         17.   Upon leaving the store, Mr. Timpa was pursued by John Doe # 4, an unknown

Security Guard believed to be employed by, or contracted by, Lone Starr.

         18.   As Mr. Timpa began to cross Mockingbird Lane, John Doe # 4 restrain and

subdue Mr. Timpa, and placed him in handcuffs.



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       19.     John Doe # 5 was allegedly driving by at the moment and stopped to help John

Doe # 4.

       20.     With the efforts of John Doe # 4 and # 5, Mr. Timpa was restrained and

handcuffed.

             OFFICER RESTRAINS AND KILLS NON-RESISTING DECEDENT

       21.     After Mr. Timpa had been subdued, John Doe # 1, 2 and/or 3 imposed excessive

physical restraint on Mr. Timpa.

       22.     At some point in time after being placed in handcuffs by John Does # 4 and # 5,

John Does # 1-3 arrived on the scene.

       23.     John Doe # 1, 2 and/or 3 put their handcuffs on Mr. Timpa.

       24.     John Doe # 1, 2 and/or 3 held Mr. Timpa in a face-down, prone position.

       25.     During that time, John Doe # 1, 2 and/or 3 removed the security guard’s

handcuffs and attached their own handcuffs to Mr. Timpa.

       26.     During that time, John Doe # 1, 2 and/or 3 continuously had a knee in and applied

pressure to Mr. Timpa’s back.

       27.     During that time and after being handcuffed by John Doe # 1, 2 and/or 3, Mr.

Timpa never threatened John Doe # 1, 2 and/or 3.

       28.     Mr. Timpa never resisted being handcuffed by John Doe # 1, 2 and/or 3.

       29.     Mr. Timpa never attempted to flee from John Doe # 1, 2 and/or 3.

       30.     Mr. Timpa never attempted to hit or fight with John Doe # 1, 2 and/or 3.

       31.     Mr. Timpa never used a weapon to threaten or assault John Doe # 1, 2 and/or 3.

       32.     EMS was eventually called to the scene.




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           33.      When Mr. Timpa was put in the ambulance by EMS to be transported to the

hospital, the EMT’s noticed Mr. Timpa had stopped breathing

           34.      Mr. Timpa was pronounced dead a Parkland Hospital at 11:30 p.m.

       NOTICE THAT MR. TIMPA WAS SUFFERING DRUG-INDUCED PSYCHOSIS

           35.      Mr. Timpa was killed while in the custody of the Dallas Police Department.

           36.      Because Mr. Timpa died in police custody, the Dallas Police Department was

required to complete a Custodial Death Report, and submit it to the Texas Attorney General.

           37.      Sergeant E. Merritt, in the course of his/her duties for and under color of law,

completed the Custodial Death Report.

           38.      The Dallas Police Department’s Custodial Death Report 1 (“CDR”) states that Mr.

Timpa appeared intoxicated.

           39.      The CDR states that Mr. Timpa never threatened the officers involved.

           40.      The CDR states that Mr. Timpa never resisted being handcuffed or arrested by the

officers involved.

           41.      The CDR states that Mr. Timpa never attempted to escape or flee from the

officers involved.

           42.      The CDR states that Mr. Timpa never attempted to hit or fight with the officers

involved.

           43.      The CDR states that Mr. Timpa never used a weapon to threaten or assault the

officers involved.

           44.      The CDR states that Mr. Timpa was securely handcuffed when John Does # 1-3

arrived.



1
    A copy of the CDR is attached hereto as Exhibit 1.

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           45.      John Doe # 1, 2 and/or 3 removed and placed their own handcuffs on Mr. Timpa

after he was subdued and handcuffed by John Does # 4 and # 5.

           46.      Emergency Medical Services were called.

           47.      When EMS arrived, Mr. Timpa was placed in the ambulance and stopped

breathing.

           48.      A witness at the scene reported Mr. Timpa said “Someone is following me” as

Mr. Timpa left the store.

           49.      A witness at the scene described Mr. Timpa’s behavior as “irrational.”

           50.      The autopsy showed that Mr. Timpa had ingested cocaine and Tramadol prior to

their arrest.

                                               CAUSE OF DEATH

           51.      The medical autopsy completed by the Dallas County Medical Examiner shows

that Mr. Timpa’s death was the result of excessive physical restraint.

           52.      Detective Eduardo Ibarra told Vicki Timpa that Mr. Timpa died, “as a result of a

lot of trauma.”

           53.      The manner of Mr. Timpa’s death was homicide. 2

           54.      The cause of Mr. Timpa’s death was excessive physical restraint and drug use.

           55.      Dr. Emily Ogden, the medical examiner on the case, told Vicki Timpa that the

John Doe # 1, 2 and/or 3 restrained by placing a knee on Mr. Timpa’s back for “thirteen

minutes” while Mr. Timpa lay face-down restrained in handcuffs.

            FACTS SHOW THAT OFFICERS USED EXCESSIVE, DEADLY FORCE

           56.      Mr. Timpa was unarmed

           57.      Mr. Timpa did not resist arrest.
2
    A copy of Mr. Timpa’s death Certificate is attached hereto as Exhibit 2.

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         58.   Mr. Timpa did not evade arrest or detention.

         59.   The Dallas Police Department did not remove or recover any weapons from Mr.

Timpa.

         60.   Mr. Timpa had not physically attacked the police officers at the scene.

         61.   It is believed that Mr. Timpa suffered cardiac arrest because of trauma inflicted by

the Dallas police officers.

         62.   John Doe # 1, 2 and/or 3 employed deadly force against Mr. Timpa.

         63.   John Doe # 1, 2 and/or 3 were acting under color of law when he/she used force

against Mr. Timpa.

         64.   John Doe # 1, 2 and/or 3 knew that Mr. Timpa was unarmed and not resisting.

         65.   In fact, Mr. Timpa had already been handcuffed and lying in the prone position

when the John Does # 1-3 arrived at the scene.

         66.   John Doe # 1, 2 and/or 3 manifested conscious indifference to Mr. Timpa by

holding him face down for 13 minutes, at least, applying excessive pressure to Mr. Timpa’s head

and torso.

         67.   It is believed that the excessive pressure applied by the John Doe # 1, 2 and/or 3

to Mr. Timpa’s chest cut off the blood flow to their heart, causing Mr. Timpa’s heart to arrest.

         68.   Extended and aggressive restraint is excessive force when an arrestee is impaired

and non-threatening.

         69.   The use of excessive force in this instance was clearly unreasonable.

         70.   John Doe # 1, 2 and/or 3 knew or should have known that the use of excessive

force in this instance was unreasonable, and constitutionally excessive.

         71.   John Doe # 1, 2 and/or 3 violated Mr. Timpa’s Fourteenth Amendment rights.



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     NO REASONABLE OFFICER COULD BELIEVE THAT USE OF FORCE WAS
                             JUSTIFIED

         72.    John Doe # 1, 2 and/or 3’s actions of restraining Mr. Timpa were deliberate,

malicious, and exercised with a wanton/reckless disregard for Mr. Timpa’s constitutional rights.

         73.    Since at least 1994, the Fifth Circuit has held that certain forms of restraint, like

the one used in this case, fall under the deadly force prohibition of the Fourth Amendment under

certain circumstances. See Gutierrez v. City of San Antonio, 139 F.3d 441, 447-49 (5th Cir.

1998).

         74.    Fourth and Fourteenth Amendment jurisprudence has clearly established that

police officers cannot use excessive force upon an unarmed suspect who is not showing signs of

active resistance.

         75.    The force utilized by John Doe # 1, 2 and/or 3 was excessive, and, therefore,

constituted an unreasonable seizure of Mr. Timpa in violation of the Fourteenth Amendments to

the United States Constitution.

         76.    John Doe # 1, 2 and/or 3’s actions constituted an unlawful deprivation of Mr.

Timpa’s liberty without due process of law in violation of the Fourteenth Amendment to the

United States Constitution.

                                      CAUSES OF ACTION

                        VIOLATION OF CONSTITUTIONAL RIGHTS

         77.    The factual allegations contained in the preceding paragraphs are hereby

incorporated and re-alleged for all purposes and incorporated herein with the same force and

effect as if set forth verbatim.

         78.    John Doe # 1, 2 and/or 3 willfully and maliciously used excessive force to restrain

Anthony Timpa despite having no legitimate reason for doing so.


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       79.     The force used by John Doe # 1, 2 and/or 3 was recklessly excessive and killed

Mr. Timpa.

       80.     John Doe # 1, 2 and/or 3 and the City of Dallas’ exercise of established policies

and customs violated Mr. Timpa’s rights clearly established under the United States Constitution

to:

               a. freedom from unreasonable seizure of their person;

               b. freedom from the use of unreasonable, unnecessary, and excessive force;

               c. freedom from infringement of rights to substantive due process;

       81.     Alternatively, John Doe # 1, 2 and/or 3 and the City of Dallas violated established

policies and customs, namely the forcible continuous pressure placed on Mr. Timpa’s back,

violated Mr. Timpa’s rights clearly established under the United States Constitution to

               a. freedom from unreasonable seizure of their person;

               b. freedom from the use of unreasonable, unnecessary, and excessive force;

               c. freedom from infringement of rights to substantive due process;

       82.     The above-described actions subjected Mr. Timpa to a deprivation of rights and

privileges secured to plaintiff by the Constitution and laws of the United States, including the

due process clause of the Fourteenth Amendment to the Constitution of the United States, within

the meaning of 42 U.S.C. § 1983.

                 42 U.S.C § 1983 AGAINST INDIVIDUAL DEFENDANTS

       83.     The factual allegations contained in the preceding paragraphs are hereby

incorporated and re-alleged for all purposes and incorporated herein with the same force and

effect as if set forth verbatim. John Doe # 1, 2 and/or 3 exercise of these established policies and

custom violated the decedent’s clearly established right under the United States Constitution to:



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               a. freedom from unreasonable seizure of their person;

               b. freedom from the use of unreasonable, unnecessary, and excessive force.

       84.     John Doe # 1, 2 and/or 3 acted willfully, deliberately, maliciously, or with

reckless disregard for Mr. Timpa’s constitutional rights.

       85.     The above-described actions subjected Mr. Timpa to a deprivation of rights and

privileges secured to plaintiff by the Constitution and laws of the United States, including the

due process clause of the Fourteenth Amendment to the Constitution of the United States, within

the meaning of 42 U.S.C. § 1983.

                                     WRONGFUL DEATH

       86.     The factual allegations contained in the preceding paragraphs are hereby

incorporated and re-alleged for all purposes and incorporated herein with the same force and

effect as if set forth verbatim. As the surviving parent of decedent Anthony Timpa, Plaintiff

Vicki Timpa has an action for wrongful death based on the facts stated in Tex. Civ. Prac. & Rem.

Code §§ 71.001-71.012.

                                     SURVIVAL ACTION

       87.     The factual allegations contained in the preceding paragraphs are hereby

incorporated and re-alleged for all purposes and incorporated herein with the same force and

effect as if set forth verbatim. Had Mr. Timpa survived, he would have been entitled to bring

actions for violations of their constitutional rights and for deprivations of state common law

actions for Negligence, Assault, Battery, False Imprisonment and Intentional Infliction. As

representative of their estate, Plaintiff has a cause of action for personal injuries suffered by

Anthony Timpa, including to their health, dignity, and reputation before their death. Tex. Civ.

Prac. & Rem. Code § 71.021.



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                                     FALSE IMPRISONMENT

        88.     The factual allegations contained in the preceding paragraphs are hereby

incorporated and re-alleged for all purposes and incorporated herein with the same force and

effect as if set forth verbatim.

        89.     Plaintiff pleads a cause of action against Lone Starr and John Does #4 and 5 for

false imprisonment.

        90.     John Does # 4 and 5 unilaterally decided to make a citizen’s arrest of Mr. Timpa

by restraining him with handcuffs. John Doe # 4 was acting within the course and scope of his

employment with Lone Starr.

        91.     Mr. Timpa was conscious of this confinement and was harmed by the citizen’s

arrest in that the excessive restraint literally killed him.

                                    ASSAULT AND BATTERY

        92.     The factual allegations contained in the preceding paragraphs are hereby

incorporated and re-alleged for all purposes and incorporated herein with the same force and

effect as if set forth verbatim.

        93.     Pursuant to Texas state law, Plaintiffs pleads a cause of action against Lone Starr

and John Does #4 and 5 for assault and battery.

        94.     John Does # 4 and 5 intentionally, knowingly, and recklessly placed decedent

Anthony Timpa in fear of imminent bodily injury.

        95.     John Does # 4 and 5 intentionally, knowingly, and recklessly caused decedent

Anthony Timpa serious bodily injury.

        96.     John Does # 4 and 5 intentionally, knowingly, and recklessly placed decedent

Anthony Timpa in fear of imminent bodily injury.



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        97.     John Does # 4 and 5 intentionally, knowingly, and recklessly caused decedent

Anthony Timpa serious bodily injury and death.

        98.     John Doe # 4 was acting within the course and scope of his employment with

Lone Starr.

                           NEGLIGENCE AND GROSS NEGLIGENCE

        99.     The factual allegations contained in the preceding paragraphs are hereby

incorporated and re-alleged for all purposes and incorporated herein with the same force and

effect as if set forth verbatim.

        100.    Plaintiff pleads a cause of action against the Defendants Lone Starr and John

Does #4 and 5 for negligence and gross negligence.

        101.    At all times relevant to this lawsuit, Defendant Lone Starr owed a duty to Plaintiff

to exercise reasonably prudent and ordinary care in the determining whether John Doe # 4 was fit

to guard the storefront.

        102.    Defendant Lone Starr violated this duty by negligently permitting Security Guard

Doe to remain unsupervised and employ inappropriate force indiscriminately. Defendant Lone

Starr failed to act in a reasonably prudent manner, as others would have under the same or

similar circumstances.

        103.    John Doe # 4 was acting within the course and scope of his employment with

Lone Starr.

               NEGLIGENT HIRING, SUPERVISION, AND/OR TRAINING

        104.    The factual allegations contained in the preceding paragraphs are hereby

incorporated and re-alleged for all purposes and incorporated herein with the same force and

effect as if set forth verbatim.



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        105.     Plaintiff pleads a cause of action against Defendant Lone Starr for negligent

hiring, supervision, and/or training.

        106.     At all times relevant to this lawsuit, Defendant Lone Starr owed a duty to Plaintiff

to exercise reasonably prudent and ordinary care in the determining whether John Doe # 4 was fit

to guard the storefront and properly trained.

        107.     Defendant Lone Starr violated this duty by negligently permitting John Doe # 4 to

carry handcuffs unsupervised, and employ the handcuffs indiscriminately. Defendant Lone Starr

failed to act in a reasonably prudent manner, as others would have under the same or similar

circumstances.

        108.     John Doe # 4 was acting within the course and scope of his employment with

Lone Starr.

         GROSSLY NEGLIGENT HIRING, SUPERVISION AND/OR TRAINING

        109.     The factual allegations contained in the preceding paragraphs are hereby

incorporate and re-alleged for all purposes and incorporated herein with the same force and

effect as if set forth verbatim.

        110.     Plaintiff pleads a cause of action against Defendant Lone Starr for grossly

negligent hiring, supervision, and/or training.

        111.     The acts and omissions of Defendant Lone Starr, described above, when viewed

objectively from the standpoint of the Defendant at the time of the acts or omissions, involved an

extreme degree of risk, considering the probability and magnitude of the potential harm to others,

and Defendants had actual, subjective awareness of the risk involved, but nevertheless proceeded

with conscious indifference to the rights, safety, or welfare of others.

                                   RESPONDEAT SUPERIOR



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       112.     Plaintiff specifically pleads respondeat superior and holds the Defendant Lone

Starr liable for these acts described which John Doe # 4 committed during the course and scope

of his/her employment for the Lone Starr.

       113.     Likewise, at all point relevant to Defendant Security Guard Doe’s actions Lone

Starr was vicariously liable for Security Guard Doe’s intentional torts.

       114.     John Doe # 4 was acting within the course and scope of his employment with

Lone Starr.

                                            DAMAGES

       115.     Plaintiffs sustained actual and consequential damages as a direct result of the

actions and/or omissions of the Defendant described hereinabove.

       116.     As a direct and proximate result of Defendants’ acts and omissions as heretofore

alleged, Anthony Timpa suffered physical impairment, excruciating pain, mental anguish,

medical treatments, and death. The estate is therefore entitled to recover all reasonable and

necessary medical and funeral expenses incurred for the care, treatment and burial of Anthony

Timpa that resulted from the tortious acts of the Defendants. In addition, the Estate of Anthony

Timpa has an action for the injuries suffered, including but not limited to the disfigurement,

humiliation, past pain and suffering, mental anguish and physical capacity suffered because of

the incident.

       117.     Furthermore, Plaintiff Vicki Timpa, as a parent of the decedent, and K.T., as

minor child of the decedent, have suffered Wrongful Death damages for their individual (1)

pecuniary loss, (2) mental anguish, (3) loss of companionship and society, and (4) loss of

inheritance. Such damages include, but are not limited to past and future lost earnings, past and




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future mental anguish damages, and other actual damages that are determined under trial of the

merits.

          118.   In addition, the foregoing acts were committed with the kind of willfulness,

wantonness, fraud, and/or malice for which the law allows imposition of punitive damages

against said Defendants. Plaintiffs are therefore entitled to exemplary damages in an amount

exceeding the minimum jurisdictional limits of this Court.

                                        ATTORNEY’S FEES

          119.   Plaintiff is further entitled to receive her reasonable attorneys’ fees pursuant to 42

U.S.C. § 1988.

          120.   Plaintiffs are further entitled to receive pre-judgment and post-judgment interest

at the highest interest rate allowable by law.

                                          JURY DEMAND

          121.   Plaintiff demands a jury trial.

                                               PRAYER

          Plaintiffs respectfully pray that the Defendants be cited to appear and answer herein, and

that upon a final hearing of the cause, judgment be entered for the Plaintiffs against the

Defendants for damages in an amount within the jurisdictional limits of the Court; exemplary

damages, attorneys’ fees, together with pre- and post- judgment interest as allowed by law, costs

of court, and such other further relief to which the Plaintiffs may be entitle at law or in equity.


                                                   Respectfully Submitted,


                                        By:        /s/ Geoff J. Henley
                                                   Geoff J. Henley
                                                   Texas Bar No. 00798253
                                                   ghenley@henleylawpc.com


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                                   R. Lane Addison
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                                   ATTORNEYS FOR PLAINTIFFS




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                  EXHIBIT 1
Custodial Death Report                                                               Page 1 of 3
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                                                              Custodial Death Report
                                                             Filed: 8-11-2016 7:09 am
                                                                           PA16349C



          Agency/Facility Information
             Name: Dallas Police Dept.
             Address: 1400 S. Lamar Street
             City, Zip: Dallas, 75215
             Phone: 214-671-3654
             Director: David 0. Brown
             Name of Report Filer: Sergeant E. Merritt #8112
             Email of Report Filer: e.merritt@dpd.dallascityhall.com

          Identity Of Deceased
             Name: Anthony Timpa
             Race/Ethnicity: Anglo
             Sex: Male
             DOB: 08-05-1984
             Age: 32

          Date Of Custody (arrest, incarceration)
              8-10-2016 10:30 pm

          Date Of Death
             8-10-2016 11:30 pm

          Where did the event causing the death occur?
              Address: 1700 Mockingbird Lane
              City: Dallas
              County: Dallas

          Has a medical examiner or coroner conducted an evaluation to determine a
          cause of death?
             No, evaluation pending

          Apparent Manner Of Death:
             Other
               Description: Unknown

          Medical Cause Of Death:
            Unknown at this time

          Was the cause of death the result of a pre-existing medical condition or did
          the deceased develop the condition after admission?


https://www.texasattomeygeneral.gov/criminal/custodial/report_ view. php?rid=493 1       9/21/2016
Custodial Death Report                                                                 Page 2 of 3
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              Don't know

          Had the deceased been receiving treatment for the medical condition after
          admission to your iail's iurisdiction?
             Not Applicable

          Type of Custody
              Custody of Peace Officer subsequent to arrest

          What were the most serious offenses with which the deceased was (or would
          have been charged with at the time of death)?
             l.APOWW
             Status: Not filed at time of death

          Type of Charges
             Other- Specify: APOWW

          Did the deceased die from a medical condition or from iniuries sustained at
          the crime/arrest scene?
              Don't know

          If iniured at the crime/arrest scene, how were these iniuries sustained?
              Unknown

          Was the deceased under restraint in the time leading up to the death or the
          events causing the death?
              Yes
              Devices used:
                Handcuffs

          At any time during the arrest/incident, did the deceased:
              Appear intoxicated (either alcohol or drugs)? - Yes.
             Threaten the officers(s) involved? - No.
              Resist being handcuffed or arrested? - No.
             Try to escape/flee from custody? - No.
              Grab, hit or fight with the officer(s) involved? - No.
             Use a weapon to threaten or assault the officer(s)? - No.
             Other- No.
             Not Applicable - No.

          What type ofweapon(s) caused the death?
            Not Applicable

          Where did the deceased die?
            At medical facility

          What was the time and date of the deceased's entry into the law enforcement
          facility where the death occurred?


https://www.texasattorneygeneral.gov/criminal/custodial/report_view.php?rid=4931         9/21/2016
Custodial Death Report                                                                   Page 3 of 3
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             Not Applicable

          At the time of entry into the facility, did the deceased:
             Appear intoxicated (either alcohol or drugs)? - No.
             Exhibit any mental health problems? - No.
             Exhibit any medical problems? - No.
             Not Applicable - Yes.

          If death was an accident or homicide, who caused the death?
              Don't know

          If death was an accident, homicide or suicide, what was the means of death?

              Don't know

          Summary of How the Death Occurred:

             On August 10, 2016, at approximately 10: 13 p.m., the subject was with an unidentified
             black male at the New Fine Arts store in the 1700 block of Mockingbird Avenue. The
             subject became irrational and ran out of the store. Witnesses said the subject believed
             someone was after him. A security guard followed the subject out of the business and
             east on Mockingbird Lane. The subject began walking into traffic so the security
             guard tried to physically restrain him. A second security guard was driving by the
             location, saw the altercation, and stopped to aid the first security guard. The security
             guards work for different companies. The two were able to put the subject into
             handcuffs. At this point, an officer arrived and put his handcuffs on the subject.
             Additional cover officers arrived and they attempted to gain control of the subject.
             DFR was called to the scene and the subject was placed in the ambulance, then he
             stopped breathing. The subject was transported to Parkland Hospital where he was
             pronounced. Officers did not use an Electronic Control Weapon or an impact weapon.
             An independent civilian witness was at the scene and provided a statement. Three of
             the involved officers were wearing body cameras.




https://www.texasattorneygeneral.gov/criminal/custodial/report_view.php?rid=4931              9/21/2016
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